Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-31 Filed04/28/17
                                310-3 Filed 06/12/17 Page
                                                     Page11of
                                                           of44




               EXHIBIT 17
Fiber Optic Rotary Joints                                                                                         Page 1 of 3
                Case   3:17-cv-00939-WHA Document
                 Case 3:17-cv-00939-WHA Document    589-31        Filed   06/12/17
                                                     310-3 Filed 04/28/17 Page 2 of 4      Page     2 of  4
                                                ∠ SUPPLIERS ∠ INVESTORS ∠ NEWS & EVENTS ∠ CONTACT US ∠ PARTNER LOGIN




          MARKETS ∠        PRODUCTS ∠        SERVICES    UNIQUE CAPABILITIES      ABOUT US ∠       CAREERS




          Fiber Optic Devices
                                        Fiber Optic Rotary Joints                                                       Contact Us
            Fiber Optic Rotary Joints
                                        Fiber Optic Rotary Joints (FORJs) are to optical signals what electrical slip
              Single Channel                                                                                            Contact our experts
                                        rings are to electrical signals, a means to pass signals across rotating
              Multi-Channel             interfaces, particularly when transmitting large amounts of data. FORJs
              Hybrid                    maintain the intrinsic advantages of fiber end to end. Moog Components
              Complete Rotary           Group has been producing Fiber Optic Rotary Joints for over twenty years.
              Interfaces                                                                                                Literature
              Legacy Products
                                        Single or Multi-Channel
            Fiber Optic Modems          FORJs are available in single and multi-channel options. The most cost and         Fiber Optic Rotary Joint Product
                                                                                                                           Guide
                                        size efficient options are the single and dual channel designs. If more than
                                        two fibers are present in a system, multiplexing solutions are available to
                                        combine multiple channels onto one or two fibers to allow the use of a one
                                        or two channel FORJ.
                                                                                                                        Related Products
                                        In cases where more than two fibers are required, Moog has three designs:
                                        the FO190, FO242 and FO291 where single channel modules are stacked to
                                                                                                                         • Condition Monitoring
                                        achieve the desired number of channels. The FO300 uses a common de-
                                                                                                                         • Fiber Optic Multiplexers (Media
                                        rotating optical element for all fiber channels.
                                                                                                                           Converters)
                                                                                                                         • Fluid Rotary Unions
                                        Singlemode or Multimode                                                          • Integrated Motion Assemblies
                                                                                                                         • Motors
                                        Singlemode fibers allow the propagation of a single mode of optical energy
                                                                                                                         • Resolvers
                                        due to their small core size and small numerical aperture and for this
                                                                                                                         • Slip Rings
                                        reason they exhibit very high bandwidths at wavelengths between 1270nm
                                        and 1650nm. Because of these smaller core sizes and numerical aperture,
                                        singlemode FORJs must be designed with very precise mechanical
                                        alignments. The alignment requirements are dependent on the operating
                                        wavelength of the FORJ. Standard singlemode FORJs are constructed for
                                        operation at 1310nm and 1550nm wavelengths. These FORJs can be
                                        expected to perform to the same specifications when used at other
                                        wavelengths between 1270nm and 1650nm, for instance, at coarse
                                        wavelength-division multiplexing (CWDM) wavelengths, which include 18
                                        wavelengths of 1271nm to 1611nm in 20nm increments. FORJs can be
                                        tested at any or all CWDM wavelengths before shipment if desired in order
                                        to characterize performance at these wavelengths.

                                        Multimode fibers have large cores and large numerical apertures allowing
                                        the propagation of multiple modes of optical energy. These features allow
                                        larger amounts of light to be transmitted from sources such as LEDs and
                                        VCSELs, but result in higher attenuation and dispersion. Because of these
                                        attenuation and dispersion features, multimode fiber systems are typically
                                        used for shorter datacom links. Most multimode systems operate at 850
                                        nm and 1300 nm.

                                        Features
                                         •    Ruggedized for harsh environments
                                         •    Compact sizes
                                         •    Variety of configuration options
                                         •    Custom designs available


                                        Single Channel FORJ                                                        ∠

                                                               Our single channel (single-pass) FORJs are
                                                               available with singlemode or multimode fibers.
                                                                They are passive and bidirectional, and allows the
                                                               transfer of optical signals across rotational
                                                               interfaces.

                                                               Learn More ∠




                                        Multi-Channel FORJ                                                         ∠

                                                               When multiple fibers are needed, out Multi-
                                                               channel FORJs are available with singlemode or
                                                               multimode fibers. They are passive and
                                                               bidirectional, and allows the transfer of optical
                                                               signals across rotational interfaces.

                                                               Learn More ∠




http://www.moog.com/products/fiber-optic-devices/fiber-optic-rotary-joints/
Fiber Optic Rotary Joints                                                            Page 2 of 3
                Case
                 Case3:17-cv-00939-WHA
                        3:17-cv-00939-WHA Document
                                          Document589-31 Filed04/28/17
                                                   310-3 Filed 06/12/17 Page
                                                                        Page33of
                                                                              of44
         Fiber Optic Devices

           Fiber Optic Rotary Joints

             Single Channel
             Multi-Channel
             Hybrid
             Complete Rotary
             Interfaces
             Legacy Products
           Fiber Optic Modems




http://www.moog.com/products/fiber-optic-devices/fiber-optic-rotary-joints/
Fiber Optic Rotary Joints                                                            Page 3 of 3
                Case
                 Case3:17-cv-00939-WHA
                        3:17-cv-00939-WHA Document
                                          Document589-31 Filed04/28/17
                                                   310-3 Filed 06/12/17 Page
                                                                        Page44of
                                                                              of44




         About Us   Privacy Policy   Contact Us   Careers
         © 2016 Moog Inc. All Rights Reserved.




http://www.moog.com/products/fiber-optic-devices/fiber-optic-rotary-joints/
